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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                WACO DIVISION

TEXTILE COMPUTER SYSTEMS, INC.,
                                           CIVIL ACTION NO. 6:21-cv-1050-ADA
    Plaintiff,

      v.                                   JURY TRIAL DEMANDED

BROADWAY NATIONAL BANK D/B/A
BROADWAY BANK, ET AL.,

    Defendants.

TEXTILE COMPUTER SYSTEMS, INC.,
                                           CIVIL ACTION NO. 6:21-cv-1052-ADA
    Plaintiff,

      v.                                   JURY TRIAL DEMANDED

COMERICA BANK, ET AL.,

    Defendants.

TEXTILE COMPUTER SYSTEMS, INC.,
                                           CIVIL ACTION NO. 6:21-cv-1054-ADA
    Plaintiff,

      v.                                   JURY TRIAL DEMANDED

INDEPENDENT BANK, ET AL.,

    Defendants.

TEXTILE COMPUTER SYSTEMS, INC.,
                                           CIVIL ACTION NO. 6:21-cv-1056-ADA
    Plaintiff,

      v.                                   JURY TRIAL DEMANDED

SOUTHSIDE BANK, ET AL.,

    Defendants.
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TEXTILE COMPUTER SYSTEMS, INC.,
                                                    CIVIL ACTION NO. 6:21-cv-1057-ADA
     Plaintiff,

       v.                                           JURY TRIAL DEMANDED

TEXAS CAPITAL BANK, ET AL.,

     Defendants.




             JOINT MOTION FOR A STAY AND NOTICE OF SETTLEMENT

       Plaintiff Textile Computer Systems, Inc. (“Textile”) and Defendants U.S. Bancorp and

U.S. Bank National Association d/b/a Elan Financial Services (together, “U.S. Bank”) have

entered into agreements pursuant to which all claims between them in the above-captioned

actions are required to be dismissed after the satisfaction of certain requirements. Accordingly,

Textile and U.S. Bank jointly move for a stay of all deadlines relating to U.S. Bank of 30 days.



Dated: November 28, 2022                     Respectfully submitted,


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                           Attorneys for U.S. Bancorp and U.S. Bank National
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system on November 29, 2022.

                                             /s/ Paige Stradley
                                             Paige Stradley




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